     Case 1:19-cr-00022-AW-MAL   Document 48   Filed 09/24/19   Page 1 of 4
                                                                        Page 1 of 4




          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                           Case No. 1:19-cr-22-MW-GRJ


FRANK RUSHING
____________________________/


                   REPORT AND RECOMMENDATION

      On this date, the Defendant, FRANK RUSHING., his attorney, and

the attorney for the Government appeared before the undersigned for the

purpose of considering Defendant’s entry of a guilty plea to count one of

the superseding indictment charging Defendant with conspiracy to

distribute and possess with intent to distribute 28 grams or more of crack

cocaine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(iii) and 846 and

count ten of the superseding indictment charging Defendant with

maintaining drug-involved premises in violation of 21 U.S.C. §§ 856(a)(1)

and 856(b).

      The district judge referred this matter to the undersigned for purposes

of hearing Defendant’s proposed plea pursuant to Fed. R. Crim. P. 11, and

to enter a report and recommendation as to whether to accept the plea. All
    Case 1:19-cr-00022-AW-MAL       Document 48   Filed 09/24/19   Page 2 of 4
                                                                           Page 2 of 4




parties consented to this procedure, and the written consent has been

entered.

      The Court addressed Defendant personally in open court, and after

assuring that Defendant was competent to proceed and had consented to

pleading guilty, the Court finds:

      1. Defendant is mentally alert, appears to be reasonably intelligent,

and understands the nature of the charges as to which the plea is offered

and the consequences of a guilty plea.

      2. Defendant understands that he has a right to trial by jury, to persist

in his plea of not guilty, to assistance of counsel at trial, to confront and

cross-examine adverse witnesses, and that he has a right against

compelled self-incrimination.

      3. Defendant understands the maximum possible sentence he faces

if the guilty plea is accepted, including the effect of the supervised release

term, and understands that the sentencing guidelines apply and that the

court may depart from those guidelines under some circumstances.

      4. The plea of guilty by the Defendant has been freely, knowingly,

and voluntarily made and is not the result of force or threats or of any

promises except for those promises contained in the written plea

agreement between the parties.
    Case 1:19-cr-00022-AW-MAL    Document 48    Filed 09/24/19   Page 3 of 4
                                                                         Page 3 of 4




      5. Defendant is competent to plead guilty.

      6. Defendant understands that his answers during the plea colloquy,

which were under oath, may be later used against him in a prosecution for

perjury or false statement.

      7. There is a factual basis for Defendant’s guilty plea.

      8. There is a plea agreement which should be accepted by the district

court. Defendant understands the terms of the plea agreement.

      9. Defendant has made his decision to plead guilty with the advice

and counsel of a competent attorney with whom Defendant acknowledged

he was satisfied.

     10. Defendant has voluntarily consented to go forward with his plea of

guilty before the undersigned. He understands that he has waived the ten-

day period for filing objections to this report and recommendation, and he

agrees that he has twenty-four hours from receipt of a copy of this report

and recommendation in which to file written objections, if any. The United

States also consents to this procedure, including the shorter period for

objections.
    Case 1:19-cr-00022-AW-MAL   Document 48   Filed 09/24/19   Page 4 of 4
                                                                       Page 4 of 4




      Accordingly, it is RECOMMENDED that the Court ACCEPT

Defendant’s plea of guilty.

   IN CHAMBERS at Gainesville, Florida, this 24th day of September 2019.

                                       s/ Gary R. Jones
                                       GARY R. JONES
                                       United States Magistrate Judge


                        NOTICE TO THE PARTIES

      A party may file specific, written objections to the proposed
findings and recommendations within 24 hours after receiving a copy
of this report and recommendation.
